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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-01213-NYW

  TEJAS COUSIK,
  TARIN ALLEN,
  JAKE DOUGLAS,
  ALEJO GONZALEZ,
  JEREMY HEDLUND,
  ROBERT HELMICK,
  PHILLIP LOPEZ,
  TYSON MCCORMICK,
  MARK RONSENTHAL,
  BRIANNE SANCHEZ,
  EMMA SMEDBERG,
  JAMES WILLIAMS,
  MARIAH WOOD, and
  ABIGAIL ZINMAN,

  Plaintiffs,

  v.

  CITY AND COUNTY OF DENVER, COLORADO,
  PATRICK PHELAN,
  CITY OF AURORA, COLORADO, and
  AUSTIN RUNYON,


  Defendants.

  _____________________________________________________________________

                     NOTICE OF ENTRY OF APPEARANCE
  ______________________________________________________________________

          Andrew D. Ringel, Esq., of Hall & Evans, L.L.C., enters his appearance on behalf

  of Defendants City and County of Denver and Patrick Phelan.
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              Dated this 14th day of June, 2022.

                                        Respectfully submitted,

                                        s/ Andrew D. Ringel         .
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                                        ATTORNEYS FOR DEFENDANTS
                                        CITY AND COUNTY OF DENVER AND
                                        PATRICK PHELAN




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                          CERTIFICATE OF SERVICE (CM/ECF)

         I HEREBY CERTIFY that on the 14th day of June, 2022, I electronically filed the
  foregoing with the Clerk of Court using the CM/ECF system which will send notification of
  such filing to the following e-mail addresses:

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                                           s/Rebecca Walker, Legal Assistant of
                                           Andrew D. Ringel




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